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                                      UNITED STATES DISTRICT COUR                                                APR 2520/4
                                                                                                       So CLEF/I( U S
                                         SOUTHERN DISTRICT OF CALIFORNIA                              BY UtH£RN Dis ,'DISTRICT
                                                                                                                        FIler
             UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINALCl:itSt~~~
                                 V.                                 (For Offenses Committed On or After November 1, 19
            THOMAS STEPHEN DISALVO (2)
                                                                       Case Number:         13CR4165-GPC

                                                                    MICHAEL E. BURKE
                                                                    Defendant's Attorney
REGISTRATION NO.                 40796298


IZI pleaded guilty to count(s)         1 of the Information.
                                      -----------------------------------------------------------
o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                          Count
Title & Section                   Nature of Offense                                                                      Numberlsl
18 USC 2252(a)(4)(B)              Possession of images of minors engaged in sexually explicit                               2
                                  conduct.




    The defendant is sentenced as provided in pages 2 through                 4            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
o     Count(s)                                                 is         dismissed on the motion of the United States.

IZI   Assessment: $100.00.

      X Restitution will be determined at later date.
~     No fine                D Forfeiture pursuant to order filed                                                ,included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.




                                                                    HON. GONZALO P. CURl L
                                                                    UNITED STATES DISTRICT JUDGE




                                                                                                                        13CR4165-GPC
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                                                 IMPRISONMENT
The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
121 months.




        Sentence imposed pursuant to Title 8 USC Section 1326(b).
Ig]     The court makes the following recommendations to the Bureau of Prisons:
        That the defendant be able to participate in the Residential Drug Abuse Program (RDAP).




D       The defendant is remanded to the custody of the United States Marshal.

D       The defendant shall surrender to the United States Marshal for this district:
              at
                   ------------------ A.M.                   on
                                                                  -------------------------------------
        D     as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
D
        Prisons:
        D     on or before
        D     as notified by the United States Marshal.
        D     as notified by the Probation or Pretrial Services Office.

                                                       RETURN
I have executed this judgment as follows:

        Defendant delivered on
                                 ------------------------- to             -----------------------~-----

at
      ------------------------ , with a certified copy of this judgment.

                                                                  UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                       13CR4I 65-GPC
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                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
20 years.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
           The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o          substance abuse. (Check, if applicable.)
t&l        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
           The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
           Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
           The defendant shall comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o          seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
           resides, works, is a student, or was convicted of a qUalifYing offense. (Check if applicable.)
o          The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

            If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
       such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
       of Payments set forth in this judgment.
           The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
       with any special conditions imposed.
                                         STANDARD CONDITIONS OF SUPERVISION
      I)  the defendant shall not leave the judicial district without the permission ofthe court or probation officer;
      2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
      3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      4)  the defendant shall support his or her dependents and meet other family responsibilities;
      5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
          reasons;
      6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
      7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
          any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
          unless granted permission to do so by the probation officer;
      10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
          observed in plain view ofthe probation officer;
      11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
      12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
          the court; and
      13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
          personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
          with such notification requirement.



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                               SPECIAL CONDITIONS OF SUPERVISION

   1. Submit your person, property, house, residence, vehicle, papers, computer, electronic communications
       or data storage devices or media, and effects to search at any time, with or without a warrant, by any law
       enforcement or probation officer with reasonable suspicion concerning a violation of a condition of
       probation/supervised release or unlawful conduct, and otherwise in the lawful discharge of the officer's
       duties. 18 U.S.C. §§ 3563 (b)(23); 3583 (d)(3).

   2. Consent to third party disclosure to any employer, potential employer, concerning any restrictions that
      are imposed by the court.

   3. Not use or possess devices which can communicate data via modem or dedicated connection and may
      not have access to the Internet without prior approval from the court or the probation officer. The
      offender shall consent to the installation of systems that will enable the probation officer to monitor
      computer use on any computer owned or controlled by the offender. The offender shall pay for the cost
      of installation of the computer software.

   4. Not associate with, or have any contact with any sex offenders unless in an approved treatment and/or
      counseling setting.

   5. Not have any contact, direct or indirect, either telephonically, visually, verbally or through written
      material, or through any third-party communication, with the victim or victim's family, without prior
      approval of the probation officer.


   6. Not have unsupervised contact with any child under the age of 18, unless in the presence of a
      supervising adult (who is aware of the defendant's deviant sexual behavior and conviction), and with the
      prior approval of the probation officer.


   7. Not accept or commence employment or volunteer activity without prior approval of the probation
      officer, and employment should be subject to continuous review and assessment by the probation
      officer.


   8. Not loiter within 200 yards of a school, schoolyard, playground, park, amusement center/park, public
      swimming pool, arcade, daycare center, carnival, recreation venue, library and other places frequented
      by persons under the age of 18, without prior approval of the probation officer.


   9. Not possess any materials such as videos, magazines, photographs, computer images or other matter that
      depicts "sexually explicit conduct" involving children and/or adults, as defined by 18 U.S.C. § 2256(2);
      and not patronize any place where such materials or entertainment are available.
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     10. Complete a sex offender evaluation, which may include periodic psychological, physiological testing,
         and completion of the ABEL assessment, at the direction of the court or probation officer; and that the
         offender participate and successfully complete an approved state-certified sex offender treatment
         program, including compliance with treatment requirements of the program. The offender will allow
         reciprocal release of information between the probation officer and the treatment provider. The offender
         may also be required to contribute to the costs of services rendered in an amount to be determined by the
         probation officer, based on ability to pay.


     11. Reside in a residence approved in advance by the probation officer, and any changes in residence shall
         be pre-approved by the probation officer.


     12. Be monitored while under supervision with location monitoring technology at the discretion of the
         probation officer, which shall be utilized for the purposes of verifying compliance with any court­
         imposed condition of supervision. The offender shall pay all or part of the costs of location monitoring
         based on their ability to pay as directed by the court and/or probation officer.



II




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